                                  ATTACHMENT       C
se 4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 1 o
                         UNITED STATES DISTRICT COURT
                                           §
                        NORTHERN DISTRICT OF OKLAHOMA


 IN THE MATTER OF SEARCH                       § MAGISTRATE      NO.
 WARRANT FOR THE PREMISES                      §
 LOCATED AT                                    §
 25278 South 201st West Avenue                 §
 Kellyville, Oklahoma                          §

     AFFIDAVIT    IN SUPPORT OF APPLICATION            FOR SEARCH WARRANT



 AFFIANT EXPERIENCE


 I, BRIAN M. SHERN, being on oath first duly sworn, depose and say:


 1. I received a B.S. Degree in Accounting in 1999, and received a Masters in

    Accounting in 2000, both from Oklahoma State University, Stillwater,

    Oklahoma.


 2. I was employed as an auditor with PricewaterhouseCoopers,      LLC from June

    2000 through December 2000. In this capacity, I performed financial statement

    audits for companies in accordance with generally accepted auditing

    standards.   From December 2000 through August 2004, I worked in various

    accounting positions within Dollar Thrifty Automotive Group, Inc., a publicly

    held rental car company.
 3. In February 2005, I graduated from the Special Agent Basic Training Program
e 4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 2 o
    at the Federal Law Enforcement Training Center in Glynco, Georgia. At

    Glynco, I received extensive training in the enforcement of criminal tax and

    money laundering statutes. I also received training in constitutional law,

    enforcement operations, and interviewing.    As a Special Agent, my duties

    include investigating individuals engaged in activities constituting violations of

    criminal tax statutes (Title 26 United States Code) and money laundering

    statutes (Title 18 and Title 31 United States Code).




 4. As a new Special Agent, I am receiving instruction and supervision from

    Special Agent Don Shoemake.      Special Agent Shoemake is a Certified Public

    Accountant licensed in the State of Oklahoma, and obtained a Masters in

    Business Administration in 1991 from Central State University, Edmond,

    Oklahoma.   Special Agent Shoemake has had over ten years of experience as

    a Special Agent investigating potential violations of criminal tax and money

    laundering statutes. His investigative experience includes participating in the

    execution of search warrants, reviewing and analyzing documents and records

    used in financial transactions, and interviewing witnesses and defendants

    involved in criminal activity. Special Agent Shoemake is also familiar with the

    methods of operation used by individuals to illegally conduct business and

    avoid law enforcement.




                                           2
 SUMMARY OF THE INVESTIGATION
se 4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 3 o

 The following information was initially discovered in the course of an investigation

 and prosecution of EDDY PATTERSON.             Information was further developed when

 the investigation of EDDY PATTERSON was expanded to include LINDSEY

 SPRINGER with regard to violations of Title 26, U.S.C. § 7201 (tax evasion), and

 Title 26, U.S.C. § 7203 (failure to file a return or pay tax). This investigation

 pertains to allegations that LINDSEY SPRINGER received income for providing

 legal and tax advice to numerous clients, and that he knowingly and willfully did

 not report this income in order to evade the taxes associated with it. Information

 obtained during the investigation also suggests that SPRINGER'S         conduct may

 constitute violations of Title 26, U.S.C. § 7212(a) (corrupt interference with

 administration of internal revenue laws). The information was received by the

 affiant from personal observation and experience, from other law enforcement

 officers, and other individuals named herein.




    1. EDDY PATTERSON          (PATTERSON) was found guilty by jury trial in the

        Northern District of Oklahoma, Case Number 03-CR-55-EA,          on December

        16, 2003, for violations including conspiracy, false statements, securities

       fraud, subscribing to a false tax return, and tax evasion.     He was sentenced

       on September 1, 2004 to 110 months imprisonment.           PATTERSON was

       represented by OSCAR STILLEY (STILLEY) during his trial and sentencing.




                                            3
   After his sentencing, PATIERSON        fired STILLEY and hired Steve Knorr as
4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 4
   his criminal attorney.




2. On May 6, 2004, an intelView was conducted by Special Agent Tim

   Arsenault with PATTERSON.        During the intelView, PATTERSON

   discussed his representation during his criminal triaL PATTERSON waived

   any attorney-client privilege through his attorney, Steve Knorr. In March

   2000, PATTERSON met with STILLEY and LINDSEY SPRINGER

   (SPRINGER) to discuss the issue of him being under criminal investigation

   for tax violations.   At the meeting, PATTERSON decided to hire SPRINGER

   and STILLEY to represent him with respect to his criminal tax investigation.

   SPRINGER told PATTERSON that he was not an attorney, but that he had

   been doing tax law research for the last ten years. Upon SPRINGER'S

   recommendation,       PATTERSON hired STILLEY.     STILLEY is an attorney

   practicing out of Ft. Smith, Arkansas.




3. PATTERSON stated that SPRINGER initially told him that he needed

   $45,000 to work on the case. PATTERSON said he paid SPRINGER this

   $45,000 over the next several months. SPRINGER asked PATTERSON to

   write "donation" on the memo line of the checks that were written to him.

   SPRINGER said that he did not charge fees, but took money for his

   ministry. PATTERSON said that any payments to SPRINGER represented

   fees for services related to handling his criminal case. PATTERSON would




                                      4
   not have made charitable donations to SPRINGER because he did not
4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 5
   believe that SPRINGER had any kind of religious ministry.      Your affiant

   reviewed various records including checks and correspondence         from

   previous civil IRS audits and criminal investigations showing that

   SPRINGER'S ministry is called BONDAGE BREAKERS MINISTRY (BBM).

   It is not known if B8M actually functions as a ministry.   Based on a search

   of charitable organizations    listed with the Oklahoma Secretary of State and

   the IRS, 8BM is not registered as a charitable organization either with the

   State of Oklahoma, or with the IRS. PATTERSON identified three $10,000

   checks written to SPRINGER dated 8/25/00, 9/25/00, and 11/9/00, numbers

   3868, 3889, and 3943 drawn from his account nLlmber 4008822 at Citizens

   Bank of Tulsa. These records were obtained pursuant to a grand jury

   subpoena issued during the investigation of PATTERSON.         PATTERSON

  said these were part of the $45,000 paid to SPRINGER, and that he

  thought there was another check written to SPRINGER earlier than August

  2000 that investigators did not have at the interview.



4. On or around the Spring of 2003, PATTERSON endorsed a $112,500

  check payable to him for the sale of ECC Energy Stock over to STILLEY for

  legal fees. PATTERSON          said that he gave STILLEY permission to pay

  SPRINGER $15,000 for services rendered by SPRINGER for

  PATTERSON'S criminal case. Your affiant reviewed billing records

  provided by PATTERSON that were given to PATTERSON from STILLEY




                                        5
    showing descriptions
4:09-cr-00043-SPF        of services
                     Document  75-19provided  and amounts
                                     Filed in USDC  ND/OK charged  for work
                                                           on 06/01/09   Page 6
    on PATTERSON'S criminal case. Your affiant also reviewed STILLEY'S

    bank records for his client interest on lawyer's trust account (IOL TA),

    account number 570124271 with Arvest Bank in Ft. Smith, Arkansas,

    obtained pursuant to a grand jury subpoena.      80th the billing records and

    the bank records show the $112,500 deposit into the IOL TA from

    PATTERSON, and a $14,539 check paid to SPRINGER from the IOL TA.




5. Your affiant also reviewed e-mail correspondence provided by

   PATTERSON that contained e-mails between STILLEY and PATTERSON

   and SPRINGER and PATTERSON.              The content of the e-mails between

   SPRINGER and PATTERSON during July and August of 2003 included

   discussions about the case, discussions about legal strategy, and

   explanations of court procedures.    SPRINGER'S e-mail address listed in

   the records was gnutella@mindspring.com.



6. In November 2003, approximately $375,000 was wired to STILLEY'S

   IOLTA on behalf of PATTERSON.           This money represented partial

   proceeds from an insurance settlement PATTERSON received in

   accordance with an officers and directors liability insurance policy he had.

   PATTERSON said that after he gave STILLEY permission, STILLEY paid

   SPRINGER $90,000 of this money for SPRINGER'S expertise and services

   rendered for PATTERSON'S       criminal case. STILLEY'S bitting records




                                       6
   show a payment to SPRINGER of $78,000 on November 7,2003, which
4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 7
   represents the $90,000 payment less $12,000 that SPRINGER owed to the

   IOLTA. STILLEY'S lOL TA records show four cash withdrawals on

   November 7,2003 totaling $78,000.



7. Your affiant reviewed records from a civil IRS investigation of SPRINGER

   which was conducted to determine if SPRINGER was involved in the

   promotion of anti-tax plans or abusive trusts for the period of January 1,

   2000 to December 31,2003.       This investigation was initiated because it

   was alleged that SPRINGER'S conduct may have been subject to the

   penalty provisions of Title 26, U.S.C. § 6700 (promoting abusive tax

   shelters, etc.) and Title 26~ U.S.C. § 6701 (penalties for aiding and abetting

   understatement of tax liability). These statutes assess penalties to

   individuals who knowingly promote abusive tax shelters or knowingly assist

   or advise people to understate their tax liability. As part of the investigation,

  checks that were cashed by SPRINGER at CHECKS CASHED were

  summonsed and reviewed.        CHECKS CASHED is        a check-cashing
  business located at 4117 South Peoria Avenue, Tulsa, Oklahoma, that

  SPRI NGER frequently utilizes to cash checks that he receives.        Once

  SPRINGER'S cashed checks were obtained, individuals who wrote checks

  to SPRINGER were contacted by the IRS by letter. The letters asked these

  individuals if SPRINGER promoted or offered tax plans or arrangements,

  provided written manuals or audio/video presentations, if the individuals




                                       7
    attended any meetings discussing income tax topics, and if any fees or
4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 8
    donations were charged for any of these products or services. The results

    of the civil investigation indicated that SPRINGER'S conduct did not appear

    to be subject to the penalty provisions of Title 26, U.S.C. §§ 6700 or 6701

    during 2000 through 2003, however, it did indicate that SPRINGER

    received payments from individuals for whom he provided legal or tax

    advice.




8. Included in the civil investigation documents are copies of checks written to

   SPRINGER from DR. PHILLIP ROBERTS (ROBERTS), who is a

   chiropractor from Ft. Smith, AR. The documents contain a total of five

   checks from ROBERTS dated in 2000 and 2001 totaling $80,000.         David

   Blackorby, an Assistant U.S. Attorney in the Western District of Arkansas,

   told your affiant that ROBERTS was convicted in Ft. Smith, Arkansas of

   criminal tax charges in 2000 or 2001. ROBERTS was represented by

   STILLEY in trial. SPRINGER was actively involved in providing

   consultation to the defense throughout the trial. Copies 'of checks from

   ROBERTS were also found in STILLEY'S IOL TA dated in 2000 and 2001

   totaling approximately $136,000.




9. Included in the civil investigation documents are copies of checks written to

   SPRINGER from JAMES LAKE (LAKE), a Delta Airlines Pilot living in

   Newport Beach, California.   The documents contain a total of three checks




                                      8
   from LAKE dated in 2000 totaling $30,000. Kimberly Summerville, an IRS-
4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 9
   CI Special Agent from Atlanta, GA, told your affiant that LAKE pleaded

   guilty to tax charges in Georgia in approximately 2002_ LAKE was originally

   represented by STILLEY in trial. SPRINGER was actively involved in

   assisting the defense during trial. LAKE fired STILLEY and SPRINGER

   during trial, and hired another attorney who advised him to plead guilty.

   Copies of checks from LAKE were also found in STILLEY'S IOL TA dated in

   2000 and 2001 totaling approximately $62,000.



1O.lncluded in the civil audit documents are references to payments received

   by SPRINGER from MICHAEL BURT, ART and CYNTHIA HAWKINS,

   ERIKA DERTIEN, and SALVATORE and MELISSA PIZZINO (amounts

   unknown at this time). ERIKA DERTIEN is the daughter of KAREN and

   ANDREW OUWENGA.           Included in STILLEY'S IOLTA are copies of checks

   written from MICHAEL BURT, CYNTHIA HAWKINS, ANDREW

   OUWENGA, and SALVATORE PIZZINO during 2002 and 2003 totaling

   approximately $178,000.    William Smith, an IRS-CI Supervisory Special

  Agent from Grand Rapids, Michigan, told your affiant that ANDREW

   OUWENGA and his wife, Karen, were previously under investigation by

   IRS-CL The OUWENGA'S were convicted of tax evasion, impeding and

  obstructing the lawful functions of the IRS, and willfully and unlawfully

  disobeying a grand jury subpoena.       ANDREW and KAREN OUWENGA

  were sentenced on May 26,2004       to 60 and 51 months imprisonment.        Matt




                                      9
    Willard, an IRS-CI Special Agent from Bridgeport, Connecticut, told your
4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 10
    affiant in July 2005 that SALVATORE      PIZZINO was currently under

    investigation for tax crimes. SPRINGER and STILLEY represented

    PIZZINO, and accompanied him when he met with Special Agent Willard for

    an interview.




 11.ln July 2005, Tom Klepper, an IRS-CI Special Agent from Phoenix, Arizona,

    told your affiant that he was currently assisting with a trial against five

    defendants who established an organization called Innovative Financial

    Consultants (IFC). The defendants are charged with violating Title 18,

    U.S.C. 371 (conspiracy).   IFC is an organization that promoted abusive

   trusts to individuals all over the country.   IFe distributed instructions and

   materials for individuals to sign up and divert their income and assets into a·

   trust to avoid paying taxes. IFC charged a fee for these services.       STILLEY

   is assisting the defendants in this trial as a consultant.   Special Agent

   KLEPPER heard SPRINGER'S name come up during trial discussions as

   possibly serving as a witness for the defense.



12.Joe Ellery, an IRS-CI Special Agent from Flint, Michigan, told your affiant in

   August 2005 that he is currently conducting an investigation on PATRICK

   TURNER (TURNER).         TURNER met with Special Agent Ellery on October

   24,2003, for an interview. SPRINGER came to the meeting and was

   designated as TURNER'S power of attorney.          During the meeting,




                                       10
                SPRINGER stated that he has been working with TURNER and other
Case 4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 11 of 24
               clients of IFe to convince them to report their income properly and file their

               income tax returns. SPRINGER stated that he has several former IFC

               clients that he will be representing.     SPRINGER stated that TURNER and

               his other c1ients are victims of misrepresentation   of the law by IFC.

               SPRINGER stated that he previously was a tax protestor, but now he has

               reformed and is helping people with their tax problems. SPRINGER told

               Special Agent Ellery that he conducts a weekly conference call for the

               victims of IFe to discuss income tax issues. SPRINGER stated that he was

               in possession of TURNER'S partnership records, and that those records
               were in Oklahoma.




            13.Janet Delancey, an IRS-CI Special Agent from Evansville, Indiana, told your

               affiant in August 2005 that she was currently conducting an investigation of

               PATRICK BOGAN (BOGAN) for tax crimes. BOGAN was a computer

               consultant that purchased the IFC program and organized his financial

               affairs according to IFC instructions.    BOGAN came into contact with

               SPRINGER through the weekly IFC conference call that SPRINGER

               conducted.   SPRINGER helped BOGAN find a law firm and CPA firm to use

               during his criminal investigation.   During 2003 and 2004, BOGAN paid

               SPRINGER approximately $5,000 with money orders payable to BBM.




                                                    11
 14. Jim Dye, an IRS-CI Special Agentin Fairview Heights, Illinois, told your
4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 12
    affiant in August 2005 that he was currently conducting an investigation of

    ORVIL DUANE HASSEBROCK (HASSEBROCK)                 for tax crimes. During an

    interview between Special Agent Dye and HASSEBROCK'S           CPA, SAM

    PHILLIPS, on August 1,2005, PHILLIPS stated that he has been in contact

    with LINDSEY SPRINGER of Tulsa, Oklahoma regarding HASSEBROCK'S

    tax affairs.   HASSEBROCK advised PHILLIPS that SPRINGER was a

    paralegal, and that PHILLIPS could discuss his tax affairs with him.

    PHILLIPS has faxed SPRINGER several personal income tax returns that

    he prepared on behalf of HASSEBROCK.        PHILLIPS had a record of

    SPRINGER'S fax number, which is (918) 247-4249.        Your affiant conducted

   an internet phone number search on this number on the web search engine

   Whitepages.com.      Information from Whitepages.com    listed this phone

   number as being a Kellyville, Oklahoma based phone number. PHILLIPS

   also had a record of SPRINGER'S e-mail address, listed as

   gnutella@mindspring.com.     This is the identical e-mail address that EDDY

   PA TfERSON       used to correspond with SPRINGER during his criminal case.




15. Your affiant has talked with at least ten IRS-CI Special Agents from different

   areas of the country that have conducted criminal investigations in which

   SPRINGER has been involved. SPRINGER frequently travels to different

   areas of the country to conduct meetings with these subjects.




                                      12
     16_Your affiant reviewed records received from Bruce Smith with the
e 4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 13 o
        Oklahoma Tax Commission listing vehicles registered in SPRINGER'S

        name with the State of Oklahoma.    Below is a chart that shows the vehicles

        registered to SPRINGER, the date registered, and the purchase price of

       each vehicle.   None of the vehicles below have an associated lien on file

       with the State of Oklahoma.



     Registration Date ·2004
                         1994 "Chevrolet
                        1999
                        1994
                         1985
                        2003
                        2004  Ford
                              Mercedes
                              Year, F-350
                              Lexus
                         1955GMC
                              Dodge   R33 G300
                                     Purchase
                              Mercedes
                                    F-150
                                     SK  G500
                                      SQ2C20
                              Chevrolet
                                     Make       Price
                                         Corvette       N/A
                                                 $38,500.00
                                                $34,000.00
                                                $40,000.00
                                                $47,000.00
                                                $32,500.00
                                           and Model
                                                $38,000.00
                                                  $5,195.00
                                                  $1,800.00




    17.SPRINGER     has not filed a federal income tax return since before 1990.

       STILLEY has not filed a federal income tax return since before 1990. The

       IRS Collection Division filed substitute returns for SPRINGER for the years

       1990 through 1995. No returns have been filed on behalf of SPRINGER

       since 1995. The amount of tax assessed by the Collection Division for each

       year a substitute return was filed, including penalties and interest assessed

       in 1996, is shown below. SPRINGER has not made any payments toward

       this outstanding balance.




                                         13
                   YearDocument 75-19 Filed in USDC ND/OK
se 4:09-cr-00043-SPF                                 Tax Assessed    $6,422.79
                                                                   $38,346.97
                                                                  $125,83551
                                                                  $301,098.96
                                                                   $28,980.87
                                                                   $34,017.00
                                                                   $27,263.95
                                                                   $40,231.87
                                                           on 06/01/09  Page 14 o




     18. Your affiant reviewed information from an IRS-CI investigation conducted

        on SPRINGER during 1998. The information included memorandums of

        interview, transcripts of conversations, and discussions with other Special

        Agents. The information shows SPRINGER conducted numerous meetings

        where he discussed legal topics on taxation and promoted views against

        income taxati.on and the U.S. Government's interpretation oftax laws. Your

        affiant has also reviewed books that SPRINGER has compiled containing

        constitutional amendments, sections of Title 26 and Title 31 of the United

        States Code, IRS policies and procedures, and past legal cases dealing

        with tax issues.




     19. Dan Elliott, a Special Agent with IRS-Clin Little Rock, Arkansas told your

        affiant that he conducted two criminal tax investigations in the Eastern

        District of Oklahoma that involved SPRINGER       Both investigations resulted

        in convictions.    The subject of one of the investigations was HAROLD

        BOOS, a chiropractor in Muskogee, Oklahoma that evaded his taxes.

        SPRINGER testified in BOOS' trial in 1998 as a witness for the defense.




                                            14
       SPRINGER summarized his involvement in promoting views against
e 4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 15 o
       taxation and the IRS. The subject of the other investigation was JAMES

       TURNER, a chiropractor from Sallisaw, Oklahoma.      This investigation went

       to trial in 2000. During the investigation, it was discovered that TURNER

       utilized the tax advice of SPRINGER, and SPRINGER traveled to Sallisaw,

       Oklahoma to set up trusts for TURNER for the purpose of evading his

      taxes.




   20. Your affiant reviewed Department of Justice records showing that

      SPRINGER was involved in a civil suit in the Eastern District of

      Pennsylvania between the U.S. Securities and Exchange Commission and

      The Infinity Group Company.    The Court found that The Infinity Group

      Company fraudulently raised at least $24.5 million from public investors

      through a Ponzi scheme that promoted non-existent investments which

      were purported to generate high rates of return. On March 16, 1998,

      SPRINGER was ordered by the court to pay disgorgement of $1 ,265,000.



   21. Department of Justice records also showed that SPRINGER was a plaintiff

      in two civil lawsuits against the IRS and IRS employees individually.   One

      lawsuit occurred in or about 1994, and the other in or about 1996. Both

      suits were rejected by the Court. One lawsuit was appealed to the U.S.

      Court of Appeals for the Tenth Circuit. In response, the Court imposed a

      $2,000 sanction upon SPRINGER pursuant to 28 U.S.C. 1912, and found




                                        15
    the suit to be frivolous. Your affiant reviewed records from the IRS Appeals
4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 1
    Division that show SPRINGER is presently involved in another lawsuit

    against the IRS and IRS employees individually.



 22. Records reviewed by your affiant including STILLEY'S IOLTA, CHECKS

    CASHED records, and memorandums of interview with clients of STILLEY

    and SPRINGER show that SPRINGER frequently deals in cash and money

    orders. SPRINGER frequently conducts cash financial transactions at

    CHECKS CASHED.       Your affiant researched information within the

   Currency and Banking Retrieval System (CBRS) showing Currency

   Transaction Reports filed under LINDSEY SPRINGER or BONDAGE

   BHEAKERS MINISTRIES.        A Currency Transaction Report (CTR) is a

   report filed in accordance with Title 31 U.S.C. 5313 which must be filed by a

   financial institution for currency transactions exceeding $10,000.   From

   January 1, 2000 through February 22, 2005, there were 43 Currency

   Transaction Reports filed under LINDSEY SPRINGER or BONDAGE

   BREAKERS MINISTRIES amounting to $760,794.           After researching CBRS

   records, STILLEY'S IOL TA records, CHECKS CASHED records, civil and

   criminal IRS records and correspondence with SPRINGER, and after

   discussions with other IRS-CI Special Agents, your affiant has not obtained

   any evidence to suggest that SPRINGER presently has or utilizes a

   personal bank account.   SPRINGER'S address listed on each CTR is 5147

   South Harvard Avenue, Tulsa, Oklahoma, which is the location of a mailbox




                                     16
    rental business.   SPRINGER also lists this address on his vehicle
4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 17
    registrations, his driver's license, and his correspondence   with the IRS_



 23. Your affiant reviewed a memorandum of interview dated June 29,1998,

    with Kathy Beckner, an IRS-CI Special Agent in Tulsa, and LINDA

    GREENHAW, the previous owner of SPRINGER'S residence at 25758

    South 20151 West Avenue, Kellyville, Oklahoma.     Your affiant also reviewed

    a memorandum of interview dated October 8, 1998, between Special Agent

    Beckner and TOM HARDGRAVE, a realtor with JOHN HAUSAM

    REALTORS, who was involved in the sale of GREENHAW'S             property to

   SPRINGER.      Your affiant also reviewed the general warranty deed

   associated with this transaction.   SPRINGER purchased the property at

   25758 South 201st West Avenue, Kellyville, Oklahoma, from WILLIAM and

   LINDA GREENHAW on July 30, 1996 with approximately             $40,000 in money

   orders and by assuming a private mortgage of approximately        $30,000 from

   the GREENHAW'S with W.T. and JANET SMITH. SPRINGER had the

   transaction conducted in the name of S.L.C.A. FAMILY TRUST.




24. TOM HARDGRAVE said SPRINGER and his family lived in a large RV or

   bus on the property while the residence was being renovated in mid to late

   1996. HARDGRAVE said he saw bunk beds, a television, and a computer

   inside the bus. LINDA GREENHAW said HARDGRAVE told her

   SPRINGER had a law library inside the bus. During the interview with




                                       17
     EDDY PATTERSON
4:09-cr-00043-SPF     on May
                  Document   6,2004,
                           75-19 FiledPATTERSON   saidon
                                       in USDC ND/OK   that SPRINGER
                                                         06/01/09 Page 18
    told him in March 2000 that he had a bus he needed to refurbish and use to

   travel to other tax cases.




25. After researching CBRS records, STILLEY'S IOLTA records, CHECKS

   CASHED records, civil and criminal IRS recordsand      correspondence       with

   SPRINGER, and after discussions with other IRS-CI Special Agents, your

   affiant has not obtained any evidence identifying any locations SPRINGER

   owns or utilizes other than his residence.




26. On August 10, 2005, your affiant participated in a drive-by of the residence

   at 25758 South 2015t West Avenue, Kellyville, Oklahoma.      Your affiant

   observed four vehicles and a large, white traveling bus parked at the

   residence.   Three vehicles had identical license plate numbers to the

   vehicles listed on the records obtained from the Oklahoma Tax Commission

   for vehicles registered to LINDSEY SPRINGER.       The vehicles also

   appeared to be the same makes and models of the listed vehicles, which

   were the 2004 Lexus R33, the 2004 Ford F-350, and the 1999 Mercedes

   G500. The fourth vehicle also appeared to be the same make and model

   as the 1994 Ford F-150, although the license plate number was unclear.

   Your affiant also observed LINDSEY SPRINGER outside the residence.




                                     18
    27. On September 2, 2005, your affiant examined property records from the
e 4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 19 o
       Creek County Clerk's Office in Sapulpa, Oklahoma.       The records indicated

       that there has not been a transfer of ownership or deed issued related to

       the property at 25758 South 201st West Avenue, Kellyville, Oklahoma, since

       the property was purchased by SPRINGER in July 30, 1996. Your affiant

       also confirmed that the legal description on the General Warranty Deed

       dated July 30, 1996 described the property at 25758 South 201st West

       Avenue, Kellyville, Oklahoma.



   28.0n March 18, 1988, SPRINGER pleaded guilty to one felony count of Title

       18, U.S.C. § 511 (altering or removing motor vehicle identification numbers)

       in the Eastern District of Oklahoma.   SPRINGER received three years

      probation.


AFFIANT'S KNOWLEDGE


Based on my training and experience and discussions with other Special Agents I
know that:



   1. Providing legal and tax advice is a document-intensive     profession, and

      individuals involved in this profession usually keep financial records, letters,

      e-mails, notes, contracts, legal forms, court documents, and other

      correspondence,   documents, and business records associated with

      services performed.   Records of this kind are also often stored on computer

      media.




                                         19
  2. Individuals involved in providing legal or tax advice usually keep records of
4:09-cr-00043-SPF     Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 20
     income, including billing records, financial statements, client

     correspondence, and other documents related to receiving income for

     services.   Records of this kind are also often stored on computer media.



 3. Individuals who conduct business out of their home normally keep business

    records inside their home, including records of expenses such as travel and

    utilities and phone service required to maintain a home office.



 4. Individuals involved in providing legal or tax advice routinely use computers

    to perform research, maintain client files, maintain records of income and

    expenses, and communicate through the use of the internet.




 5. Individuals who are involved in a business activity commonly retain records

    for long periods of time, particularly when they participate in the business

    activity for a long period of time.




 6. Individuals who attempt to conceal the existence and source of their funds

    do so by engaging in financial transactions with domestic and foreign

    institutions, and others, through all manner of financial instruments,

    including cash, cashier's checks, money drafts, traveler's checks, wire




                                          20
Case 4:09-cr-00043-SPF     Document
                transfers, etc.      75-19
                                Records     Filedinstruments
                                        of such   in USDC ND/OK    on 06/01/09
                                                             are routinely       Page at
                                                                           maintained 21the
                                                                                         of 24

                 individual's residence or place of business.



             COMPUTER DATA

             Based upon my training, experience and information related to me by agents

             and others involved in the forensic examination of computers, I know that

             computer data can be stored on a variety of systems and storage devices

             including hard disk drives, floppy disks, compact disks, magnetic tapes and

            memory chips. , also know that during the search of the premises it is not

            always possible to search computer equipment and storage devices for data

            for a number of reasons, including the following:




            1. Searching computer systems is a highly technical process which requires

                 expertise and specialized equipment.   There are so many types of

                 computer hardware and software in use today that it is impossible to bring

             /   to the search site all of the necessary technical manuals and specialized

                 equipment necessary to conduct a thorough search. In addition, it may also

                 be necessary to consult with computer personnel who have specific

                 expertise in the type of computer, software application or operating system

                 that is being searched.




            2. Searching computer systems requires the use of precise, scientific

                 procedures which are designed to maintain the integrity of the evidence and




                                                   21
                 to recover
Case 4:09-cr-00043-SPF      "hidden", 75-19
                         Document      erased,  compressed,
                                            Filed           encrypted
                                                  in USDC ND/OK       or password-protected
                                                                  on 06/01/09  Page 22 of 24

                  data. Computer hardware and storage devices may contain "booby traps"

                  that destroy or alter data if certain procedures are not scrupulously

                 followed. Since computer data is particularly vulnerable to inadvertent or

                 intentional modification or destruction, a controlled environment, such as a

                 law enforcement laboratory, is essential to conducting a complete and-

                 accurate analysis of the equipment and storage devices from which the

                 data will be extracted.




              3. The volume of data stored on many computer systems and storage devices

                 will typically be so large that it will be highly impractical to search for data

                 during the execution of the physical search of the premises.       A single

                 megabyte of storage space is the equivalent of 500 double-spaced pages of

                 text. A single gigabyte of storage space, or 1,000 megabytes, is the

                 equivalent of 500,000 double-spaced pages of text. Storage devices

                 capable of storing fifteen gigabytes of data are now commonplace in

                 desktop computers.        Consequently, each non-networked,    desktop computer

                 found during a search can easily contain the equivalent of 7.5 million pages

                 of data, which, jf printed out, would completely fill a 10' x 12' x 10' room to

                 the ceiling.




              4. Computer users can attempt to conceal data within computer equipment

                 and storage devices through a number of methods, including the use of




                                                      22
  innocuous or misleading
:09-cr-00043-SPF          filenames
                   Document          and extensions.
                               75-19 Filed           For example,
                                           in USDC ND/OK          files with
                                                          on 06/01/09   Page 2

  the extension ".jpg" are image files; however, a user can easily change the

  extension to ".txt" to conceal the image and make it appear that the file

  contains text_ Computer users can also attempt to conceal data by using

  encryption, which means that a password or device, such as a "dongle" or

 "keycard," is necessary to decrypt the data into a readable form. In

 addition, computer users can conceal data within another seemingly

 unrelated and innocuous file in the process called "steganography."     For

 example, by using steganography a computer user can conceal text in an

 image file which cannot be viewed when the image file is opened.

 Therefore, a substantial amount of time is necessary to extract and sort

 through data that is concealed or encrypted to.determine whether it is

 evidence, contraband or instrumentalities   of a crime.




                                   23
 CONCLUSION OF THE AFFIANT
e 4:09-cr-00043-SPF Document 75-19 Filed in USDC ND/OK on 06/01/09 Page 24 o

 Based on the information contained in this affidavit, I have probable cause to

 believe and do believe that within the premises described in Attachment A,

 Location to be Searched, incorporated herein by reference to the Search Warrant,

 are now located records evidencing Federal violations of Title 26, U.S.C., Sections

 7201 and 7203, including all records described in Attachment B, Items to be

 Seized, incorporated herein by reference to the Search Warrant for property of

 LINDSEY SPRINGER.




                                                    ~~40-
                                                        Brian M. Shern
                                                     Special Agent, IRS-CI




Subscrib~
this               ..:;e/~
     17~ayandofsworn to before
                           ,,/00
                               me 5' .




                                         24
